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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 23-1311                                                 September Term, 2023
                                                                            FCC-88FR67108
                                                   Filed On: January 5, 2024 [2034667]
Public.Resource.Org, Inc., et al.,

               Petitioners

       v.

Federal Communications Commission and
United States of America,

               Respondents

                                         ORDER

       Upon consideration of petitioners’ consent motion for late filing of certificate as to
parties, rulings, and related cases, it is

        ORDERED that the motion be granted. The Clerk is directed to file the lodged
certificate as to parties, rulings, and related cases.

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          James A. Kaiser
                                                          Deputy Clerk
